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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNrrso SrarBs DIsrrucr CoURT
                                                                for the

                                                      District of Massachusetts

MAURA O'NElLL, as administrator of the                             )
Estate of Madelyn E. Linsenmeir,                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )      Civil Action No
                                                                   )
CITY OF SPRINGFIELD, MOISES
                                                                   )
ZANAZANIAN, REMINGTON MCNAB B,
SHEILA RODRIGUEZ, HAMPDEN                                          )
COUNTY SHERI FF'S DEPARTM ENT , and                                )
JOHN/JANE DOES N os 1-5                                            )
                           Defendant(s)                            )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) HAMpDEN COUNTy SHERIFF,S DEpARTMENT
                                           736 State Street
                                           Springfield, MA 01109




          A lawsuit has been filed against you

         Within 2l days after service of this summons on you (not counting the day you received it)     or 60 days if you
                                                                                                            -
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule l2 of
                       -
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintifls attorney,
whose name and address          are: Richard J. Rosensweiq
                                           Goulston & Storrs PC-
                                           400 Atlantic Avenue
                                           Boston, MA 02110


        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                           PROOF OF SERVICE
                       (This section should not be tiled wíth the court unless requìred by Fed. R. Civ. P. 4 (l))

           This summons for fuame of individual and title, if any)
 was received by me on (date)


           fl I personally served the summons on the individual at (place)
                                                                                on (date)                             ;or

           Í I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person ofsuitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           Í I served the summons on (name of individual)                                                                     , who is

            designated by law to accept service ofprocess on behalfof (name oforganízation)
                                                                                on (date)                             ;or

           Í I returned the summons unexecuted because                                                                             ;or

           ll Other (specifu):


           My fees are $                           for travel and $                  for services, for a total of $         O.0O



           I declare under penalty of perjury that this information is true.



 Date
                                                                                            Server's signature



                                                                                        Printed name and title




                                                                                            Server's address


 Additional information regarding attempted service, etc:
